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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS
                                    FORT SMITH DIVISION




    UNITED STATES OF AMERICA                                                           PLAINTIFF

    v.                                    No. 05-20067-002

    JUAN G. PEDRAZA                                                                  DEFENDANT



                                              ORDER

           The undersigned having been advised that Juan G. Pedraza and the government have entered

    into a plea agreement, Pedraza’s motions to suppress evidence/motion in limine (Doc. #99) and to

    suppress evidence (Doc. 101) are hereby dismissed as moot.

           IT IS SO ORDERED this 17th day of November 2005.



                                                /s/Beverly Stites Jones
                                                HON. BEVERLY STITES JONES
                                                UNITED STATES MAGISTRATE JUDGE
